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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA

     v.                                              Case No. 21-CR-626 (PLF)

 DEREK COOPER GUNBY,

      Defendant.

             GOVERNMENT’S RESPONSE TO COURT’S JULY 3, 2024 ORDER

          The United States of America, by and through its attorney, the United States Attorney for

the District of Columbia, respectfully submits this response to the Court’s July 3, 2024 Minute

Order issued in response to the decision in Fischer v. United States, 603 U.S. ___, 2024 WL

3208034 (June 28, 2024). The Court ordered that the parties propose a schedule for post-trial

briefing, sentencing, and other issues.

                                BRIEF PROCEDURAL HISTORY

          After an eight-day trial, on November 13, 2023 a jury returned verdicts of guilty on all five

counts charged against defendant Derek Gunby, including Count One, Obstruction of an Official

Proceeding and Aiding and Abetting, 18 U.S.C. §§ 1512(c)(2) and 2. The jury also found Mr.

Gunby guilty of four additional misdemeanor counts: Count Two, Entering and Remaining in a

Restricted Building or Grounds, 18 U.S.C. § 1752(a)(1); Count Three, Disorderly and Disruptive

Conduct in a Restricted Building or Grounds, 18 U.S.C. § 1752(a)(2); Count Four, Disorderly

Conduct in a Capitol Building, 40 U.S.C. § 5104(e)(2)(D); and Count Five, Parading,

Demonstrating, or Picketing in a Capitol Building, 40 U.S.C. § 5104(e)(2)(G). The government

points the Court to its Trial Brief, filed on October 23, 2023, for a recitation of the relevant facts.

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                                             FISCHER

       In the intervening months, Fischer was litigated in the Supreme Court, which issued its

decision on Friday, June 28, 2024. In Fischer, the Supreme Court held that Section 1512(c) does

not cover “all means of obstructing, influencing, or impeding any official proceeding.” Op. 8.

However, the Court did not reject the application of § 1512(c)(2) to January 6 prosecutions.

Rather, the Court explained that the government must establish that the defendant impaired the

availability or integrity for use in an official proceeding of records, documents, objects, or other

things used in the proceeding – such as witness testimony or intangible information – or attempted

to do so. Id. at 9, 16. The Supreme Court remanded the case to the D.C. Circuit for further

proceedings. Id. Through those proceedings, the court of appeals will interpret the scope of the

statute further, which may include circumstances like those in the subject case, where the defendant

intended to stop the certification proceeding and affect the voting and balloting underlying the

certification. See Op. 16 (delineating that it would still remain a crime to attempt to impair the

integrity of availability of records, documents, objects, or other things used in the proceeding); id.

at 8 (Jackson, J., concurring) (“And it might well be that Fischer’s conduct, as alleged here,

involved the impairment (or the attempted impairment) of the availability or integrity of things

used during the January 6 proceeding”).

       Given the remand to the Circuit and the ongoing litigation in Fischer, the government is

still evaluating Fischer’s impact on this and other January 6 cases. The government therefore

respectfully requests 60 days in which to submit a status report and proposed briefing schedule.

The government has conferred with counsel for the defendant, Derek Cooper Gunby, and

understands the defendant has no objection to the government’s request.




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                            Respectfully submitted,

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